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   EXHIBIT 1
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        Catch up on highlights from Firebase at Google I/O 2023. Learn more
         (https://firebase.blog/posts/2023/05/whats-new-at-google-io)




        Google Analytics                                                                  plat_ios plat_android plat_web plat_flutter plat_cpp plat_unity
        Google Analytics is an app measurement solution, available at no charge, that provides insight
        on app usage and user engagement.



        At the heart of Firebase is Google Analytics, an
        unlimited analytics solution available at no
                                                                                Introducing Google Analytics…
                                                                                                   Analytics…
        charge. Analytics integrates across Firebase
        features and provides you with unlimited reporting
        for up to 500 distinct events that you can define
        using the Firebase SDK. Analytics reports help you
        understand clearly how your users behave, which
        enables you to make informed decisions
        regarding app marketing and performance
        optimizations.

      Web setup (/docs/analytics/get-started?platform=web)

        iOS+ setup (/docs/analytics/get-started?platform=ios)

        Android setup (/docs/analytics/get-started?platform=android)

        Flutter setup (/docs/analytics/get-started?platform=flutter)


      C++ setup (/docs/analytics/cpp/start) Unity setup (/docs/analytics/unity/start)




        Key capabilities

        Unlimited Reporting                  Analytics provides unlimited reporting on up to 500 distinct events.



https://firebase.google.com/docs/analytics                                                                                                                  1/4
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        Audience Segmentation                Custom audiences can be defined in the Firebase console based on device
                                             data, custom events, or user properties. These audiences can be used with
                                             other Firebase features when targeting new features or notification
                                             messages.




        How does it work?
        Google Analytics helps you understand how people use your web, Apple, or Android app. The
        SDK automatically captures a number of events and user properties and also allows you to
        define your own custom events to measure the things that uniquely matter to your business.
        Once the data is captured, it's available in a dashboard through the Firebase console. This
        dashboard provides detailed insights about your data — from summary data such as active
        users and demographics, to more detailed data such as identifying your most purchased
        items.

        Analytics also integrates with a number of other Firebase features. For example, it
        automatically logs events that correspond to notification messages sent via the Notifications
        composer and provides reporting on the impact of each campaign.

        Analytics helps you understand how your users behave, so you can make informed decisions
        about how to market your app. See the performance of your campaigns across organic and
        paid channels to understand which methods are most effective at driving high-value users. If
        you need to perform custom analysis or join your data with other sources you can link your
        Analytics data to BigQuery, which allows for more complex analysis like querying large data
        sets and joining multiple data sources.



        Integrations with other services

        BigQuery                             Link your Firebase app to BigQuery
                                             (https://support.google.com/firebase/answer/6318765) where you can




https://firebase.google.com/docs/analytics                                                                               2/4
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                                             perform custom analysis on your entire Analytics dataset and import other
                                             data sources.




        Crashlytics                          Analytics logs events for each crash so you can get a sense of the rate of
                                             crashes for different versions or regions, allowing you to gain insight into
                                             which users are impacted. You can also create audiences for users who
                                             have experienced multiple crashes and respond with notification messages
                                             directed at that audience.




        FCM                                  Analytics automatically logs events that correspond to notification messages
                                             sent via the Notifications composer and supports reporting on the impact of
                                             each campaign.




        Firebase Remote Config               Use Analytics audience definitions to change the behavior and appearance
                                             of your app for different audiences without distributing multiple versions of
                                             your app.




        Google Tag Manager                   Integrating Google Tag Manager
                                             (https://developers.google.com/tag-manager/) alongside Google Analytics
                                             enables you to manage your Analytics implementation remotely from a web
                                             interface after your app has been distributed.




        Implementation path


           1        Connect your app to Firebase     Getting started with Analytics is easy. Just add the Firebase SDK to
                                                     your new or existing app, and data collection begins automatically.




https://firebase.google.com/docs/analytics                                                                                   3/4
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                                                  You can view analytics data in the Firebase console within hours.




                    Log custom data               You can use Analytics to log custom events that make sense for
           2
                                                  your app, like E-Commerce purchases or achievements.




                    Create audiences              You can define the audiences that matter to you in the Firebase
           3
                                                  console.




                    Target audiences              Use your custom audiences to target messages, promotions, or new
           4                                      app features using other Firebase features, such as FCM, and
                                                  Remote Config.




        Next steps
                  Add Google Analytics to your web (/docs/analytics/get-started?platform=web), Apple
                  (/docs/analytics/get-started?platform=ios), Android
                  (/docs/analytics/get-started?platform=android), or Flutter
                  (/docs/analytics/get-started?platform=flutter) app.

                  Download sample code (/docs/samples).


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https://firebase.google.com/docs/analytics                                                                                   4/4
